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                               EXHIBIT A




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:                                                                          Chapter 7

 START MAN FURNITURE, LLC, et al.,1                                              Case No. 20-10553 (CTG)

                                     Debtors.                                    (Jointly Administered)

 ALFRED T. GIULIANO, in his capacity as Chapter 7                                Adv. Proc. Nos. SEE ATTACHED
 Trustee of Start Man Furniture, LLC, et al.,                                    EXHIBIT B

                                    Plaintiff,

 vs.

 SEE ATTACHED EXHIBIT B,

                                    Defendants.



             ORDER APPROVING STIPULATION FOR FURTHER EXTENSION
             OF TIME FOR THE DEFENDANTS TO ANSWER THE COMPLAINT

                    Upon consideration of the Stipulation for Further Extension of Time for the

Defendants to Answer the Complaint (the “Stipulation”) filed by the Chapter 7 Trustee and the

Defendants; and the Court having reviewed the Stipulation, a copy of which is attached hereto as

Exhibit 1; and good cause appearing for the relief requested therein, it is hereby ORDERED

THAT:

                    1.        The Stipulation, attached hereto as Exhibit 1, is approved in its entirety.




1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man

Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II,
LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start
Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure
Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam
Levin, Inc. (5198); and Comfort Mattress LLC (4463)



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               2.      This Court retains jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




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                     EXHIBIT 1 TO ORDER




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:                                                                          Chapter 7

 START MAN FURNITURE, LLC, et al.,3                                              Case No. 20-10553 (CTG)

                                     Debtors.                                    (Jointly Administered)

 ALFRED T. GIULIANO, in his capacity as Chapter 7                                Adv. Proc. Nos. SEE ATTACHED
 Trustee of Start Man Furniture, LLC, et al.,                                    EXHIBIT B

                                    Plaintiff,

 vs.

 SEE ATTACHED EXHIBIT B,

                                    Defendants.


                        STIPULATION FOR FURTHER EXTENSION
               OF TIME FOR THE DEFENDANTS TO ANSWER THE COMPLAINT

                    Plaintiff, Alfred T. Giuliano in his capacity as chapter 7 trustee of Start Man

Furniture, LLC, et al., (the “Plaintiff”), for the estates of the above-captioned debtors (the

“Debtors”) in the above-captioned cases pending under chapter 7 of title 11 of the United States

Code (the “Bankruptcy Code”), by and through his undersigned counsel and the defendants

listed on Exhibit B (collectively, the “Defendant,” and together with Plaintiff, the “Parties”),

enter into this Stipulation for Further Extension of Time for Defendants to Answer the Complaint

(the “Stipulation”) and hereby stipulate and agree as follows:

          1.        The Parties agree and stipulate that the time within which the Defendant may


3 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man

Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II,
LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start
Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure
Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam
Levin, Inc. (5198); and Comfort Mattress LLC (4463)



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answer the Complaint [D.I. 1] in the adversary proceedings listed in Exhibit B is hereby further

extended to and including May 30, 2022.

        2.      Except as specifically set forth herein, the Parties reserve all of their respective

rights in this matter.

 Dated: April 28, 2022                                Dated: April 28, 2022

 PACHULSKI STANG ZIEHL & JONES LLP                    THOMPSON COBURN HAHN & HESSEN
                                                      LLP
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         pkeane@pszjlaw.com                           Inc.; LFN Services, Inc.; Corinthian, Inc.;
                                                      Klaussner Furniture Industries, Inc.; First-
 Counsel to Plaintiff Alfred T. Giuliano,             Citizens Bank & Trust Company d/b/a The CIT
 Chapter 7 Trustee for the Estates of Start Man       Group
 Furniture, LLC, et al.
                                                      Dated: April 28, 2022

                                                      LOWENSTEIN SANDLER LLP

                                                      /s/ Eric Chafetz
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                                                      Eric Chafetz
                                                      Keara Waldron
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                                                      Counsel to Defendant Hooker Furnishings
                                                      Corporation f/k/a Hooker Furniture
                                                      Corporation f/k/a Homer Meridian
                                                      International Inc. d/b/a Samuel Lawrence
                                                      Furniture



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                              Dated: April 28, 2022

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                              Counsel to Franklin Corp.




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